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A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER. 8:06-cr-470-T-30MAP
                                                               USMNUMBER: 49530-018



MOZELLE ELAINE UNDERWOOD
                                                               Defendant's Attorney: Angela Wright, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE and TWO of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

21 U.S.C. $9: 841(a)(l),            Conspiracy to Distribute Marijuana           June 2,2006                          One
841(b)(l)@) and 846

                                    Possession with Intent to Distribute         ~ u n e2,2006                        Two
                                    Marijuana


       The defendant is sentenced asprovided in pages 2 through 6 of thisjudgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

-Tbe defendant has been found not guilty on count(s)
- Count@) are dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until aU h e s , restihltion, costs, and special assessments imposed by this judgment are fidly paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: December 12,2W7      ,



                                                                                                      /Z-
                                                                                  DATE: D e c e m b e r , 2007
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgnent in a Criminal Case)
Defendant:          MOZELLE ELAINE UNDERWOOD                                                                    Judgment - Page 2of 6
Case KO.:           8:06-cr370-T-30hilAP




        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. $8
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of TIME SERVED as to Counts One and Two of the Indictment.




-The court makes the following recommendations to the Bureau of Prisons:



- The defendant is remanded to the custody of the United States Marshal.
- The defkndant shall surrender lo tlic United States Marshal for this dis~rict.
          - at -a.~n./p.rn.on -.
          - as notified by the United States Marshal.
   The defendant shall surrender for service of sentcncc at the institution ciesignntcd by the Durcau of Prisons.

           before 2 p.m. on -.
          -as notified by the United States Marshal.
           as notitied by the Probation or Pretrial Services Ofice.




                                                                      RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                             to
- at                                                                  , with a certified copy of this judgment.



                                                                                   United States Marshal

                                                                       By:
                                                                                            Deputy United States Marshal
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A0 245B (Rev. 06/05)Sheet 3 - Supen:iscd Release (Judgment in a Criminal Case)
Defendant:         MOZELLE ELAINE UNDERWOOD                                                           Judgment - Page 3of
Case No.:          8:06-cr-470-T-30MAP
                                                         SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of TIIREE (3) YEARS as to
Counts One and Two of the Indictment, to be served concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours ofrelease from
the custody of the Bureau of Prisons.

The defendant shall not conlmit another federal, state, or local crime. The defendant shall not unlawfidly possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm. destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not Icave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation oficer and shall submit a truthful and complete written roport within the first five days of each
          month;

          the defendant shall answer truthfully all inquiries by the probation ofticer and follow the instructions of the probation ofiicer;

          thc defendant shall support his or hcr dependents and rnwt other family responsibilities;

          the defendant shall work regularly at a lawfbl occupation, unless excus~dby the probation ofiicer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation officer at least ten days prior to any change in resitlence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase, posscss, use, distribute, or administer any control lcd
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequcnt places where controllcd substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminnl activity and shall not associate with any pcrson convicted oi'a
          felony, unless granted permission to do so by thc probation oficer;

          the defendant shall permit a probation officer to visit him or her at any timc at home or elsewhere and shall pennit confiscation of any
          contraband observcd in plain view of the probation ofiicer;

          the defendant shall notify the probation officer within scventy-two hours of being arrested or questioned by a law enforcement officer;

          the defendant shall not entcr into any agreement to act as an informer or a special agent of a law enforcement agcncy without the
          permission of the court; and

          as directed by the probation ofticer, the defendant shall noti6 third parties of risks that may be occasioned by the defendant's crimirial record
          or personal history or characteristics and shall pcrmit the probation officer to make such notiiications and to c o n h m the defendant's
          compliance with such notitication requirement.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:         MOZELLE ELAINE UNDERWOOD                                                   Judgment - Page 4 of 6
Case No.:          8:06-cr-470-T-30MAP
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:
         The defendant shall participate in the Home Detention program for a period of 150 DAYS . During this time, defendant will
         remain at defendant's place of residence except for employment and other activities approved in advance by the defendant's
         Probation Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use in the Middle District
         of Florida, which may include the requirement to wear an electronic monitoring device and to follow electronic monitoring
         procedures specified by the Probation Officer. Further, the defendant shall be required to contribute to the costs of services for
         such monitoring not to exceed an amount determined reasonable by the Probation Officer based on ability to pay (or availability
         of third party payment) and in conformance with the Probation Office's Sliding Scale for Electronic Monitoring Services.

         The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow te probation officer's
         instructions regarding the implementation of this court directive. Further, the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for 3
         Substance Abuse Treatment Services. During and upon completion of this program, the defendant is directed to submit to
         random drug testing.
         The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit. acquisitions or obligating
         hi~nselfiherselffor any major purchases without approval of the probation officer until the defendant has paid the fine in this case.
         The defendant shall provide the probation officer access to any requested financial information until the defendant has paid the
         fine in his case.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
         The mandatory drug testing provisions pursuant to the Violent Crime Control Act are imposed. The Court orders the probation
         officer to conduct random drug testing not to exceed 104 tests per year.
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 A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Cnsc)

Defendant:          MOZELLE ELAINE UNDERWOOD                                                 Judgment - Page 5 of 6
Case No.:           8:06-cr370-T-30MAP

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                           -
                                                                  Fine                       Total Restitution

                                                                  $2,000                  N/A
                                                                  (To be paid within one year from 12/12/07)

-         The determination of restitution is deferred until        .                            ill a Crirninul Case ( A 0 245C) will
                                                                            An An~e/?n't>clJ~r(iyr?~er~t
          be entered after such determination.

-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentaue     ent column below. However, pursuant to 18 U.S.C. 5
          3664(i), all non-federal victims must be pald before?hga%ted States.


 Name of Pavee                                  Total Loss*                 Restitution Ordered




                             Totals:            -
                                                $                           L

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant n u t pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in h l l
          before the fifteenth day after the date of the judgment, pursuant to 1 8 U.S.C. # 36 12(*). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 1 8 U.S.C. 3 36 12(g).

 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -         the interest requirement is waived for the - fine - restitution.
         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 IOA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 2456 (Rev 06/05) Shcet 6 - Schedule of Payments (Judgment i n a Criminal Cusc)

Defendant:         MOZELLE ELAINE UNDERWOOD                                                   Judpment - Page 6of 6
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                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.       -
         X         Lump sun1 payment of $ 2 0 0 (special assessment) is due immediately,
B.       -         Payment to begin i~nmediately(may be combined with -C. -D, or -F below): or
C.       -         Payment in equal          (e.g., weekly, monthly, quarterly) installments of $          over a period
                   of -(e.g.. months or years), to commence             days (e.g.. 30 or 60 days) after the date of this
                   judgment; or
D.       -         Payment in equal              (e.g.. weekly, monthly. quarterly) installments of $          over a period of
                               , (e.g.. months or years) to commence                    (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
E.                 Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
F.         X       Special instructions regarding the payment of criminal monetary penalties:
         The Court imposes a fine in the amount of $2.000. This obligation is to be paid within ONE (1) YEAR from
         12/12/07.


Unless the court has expressly ordered otherwise, if this judgnlent imposes imprisonment. payment of criminal monetary
penalties is due during ~mprisonment.All criminal monetary penalties. except those ayrnents made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program. are made to the clerk o f t e court.    \
The defendant shall receive credit for all payments previously made toward any cri~ninalmonetary penalties imposed.

-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.

-         The defendant shall pay the fbllowing court cost(s):
X        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States inmediately and voluntarily any and a11 assets and
property. or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees. The items to be forfeited s ecifically include, but are l~mitedto. a Hi-Point pistol, serial number P159712, and
seven rounds of allununition all seizeffrorn the defendant at the time of arrest.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal. (5)
fine interest, ( 6 ) community restitution. (7) penalties, and (8) costs: including cosl of prosecution and court costs.
